Case 2:04-cV-02590-.]PI\/|-de Document 8 Filed 05/11/05 Page 1 of 2 Page|D 9

UNITED sTATEs DISTRICT cotfii‘i*`l/ ~ 3-*`~
wEsTERN DISTRICT oF TENNEss-EE: w p;._,, L,__.SE
wEsTERN DIvIsIoN

 

 

ROBERT JOE HOOD, JUDGMENT IN A CIVIL CASE
Petitioner,

v.

MARK H. LUTTRELLl JR., CASE NO: 04-2590 Ml/V

Respondent.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance With the Order Granting Motion for Reconsideration,
Order Vacating December 23, 2004, Order and Judgment, Order of
Dismissal, Order Certifying Appeal Not Taken in Good Faith and
Notice of Appellate Filing Fee entered May ll_, 2005, this case
is DISMISSED.

APPROVED:

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MCCALLA
UNI ED STATES DISTRICT JUDGE

 

 

  

ROBERT H. DI TF{OUO

 

 

 

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UNITED`TATES 'TRC'CISITOURT - WESERNDISTCRIT oF'TNi\I'EssEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:04-CV-02590 Was distributed by faX, mail, or direct printing on
May ]3, 2005 to the parties listed.

 

Robert Joe Hood
SCCC

1 13059

201 Poplar Ave.
Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

